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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

In the Matter of the Petition of GRACE
OCEAN PRIVATE LIMITED, et al., for
Exoneration from or Limitation of
Liability

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Civ. No. JKB-24-0941

IN ADMIRALTY

CASE MANAGEMENT ORDER NO. 2

The Court has reviewed the JOINT STATUS REPORT (ECF No. 406) submitted by the

parties on October 22, 2024. The Court commends the parties on the high degree of cooperation

and collaboration that the REPORT reflects. The Court looks forward to a productive status

conference on October 29, 2024.

Upon the joint statement and agreement of the claimants in the REPORT, and invoking its

authority (inherent and otherwise!) to adopt special procedures to manage a large and complex

action, the Court now defines categories of claims, and designates lead counsel for claimants, as

follows:
United States of America
State of Maryland
Personal Injury and Wrongful Death
Property Damage
Local Governments
Private Economic Loss

Cargo

' Rule 16(c)(2)(L), Fed. Rules Civ. Procedure

Thomas Brown (U.S. Department of Justice)
David Reisman (Liskow & Lewis)

Daniel Rose (Kreindler & Kreindler)

Robert Phelan (Cozen O’ Connor)

Adam Levitt (DiCello Levitt)

Todd Lochner (Lochner Law Firm)

Terry Goddard (Skeen & Kauffman)
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SO ORDERED.
DATED thisZ¥ day of October, 2024.

BY THE COURT:

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James K. Bredar
United States District Judge

